                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

  SYLVESTER ALLEN, JR., et al.,

                         Plaintiffs,
  v.

  CITY OF GRAHAM, et al.,                                    1:20-cv-0997-CCE-LPA

                         Defendants.


  JUSTICE FOR THE NEXT
  GENERATION, et al.,

                          Plaintiffs,

                   v.                                        1:20-cv-00998-CCE-LPA

  TERRY JOHNSON, individually and in his
  official capacity as Alamance County
  Sheriff, et al.,

                          Defendants.

JUSTICE FOR THE NEXT GENERATION, et al., PLAINTIFFS’ RESPONSE IN
OPPOSITION TO CITY OF GRAHAM DEFENDANTS’ MOTION TO DISMISS

                              FACTUAL BACKGROUND

        On October 31, 2020, many residents of the City of Graham and Alamance County,

North Carolina awoke expecting to participate in the electoral process by voting in the 2020

Presidential Election. But the City of Graham, its Chief of Police Kristi Cole, and Graham

Police Department (“GPD”) Lt. Joaquin Velez (“Defendants” or “Graham Defendants”)

had other plans.




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       On October 31, 2020, Plaintiff Gregory Drumwright led hundreds of citizens—

many of them members of the Plaintiff organizations Alamance Alliance For Justice

(“AA4J”) and Justice 4 the Next Generation (“J4tNG”)—in the I Am Change March To

The Polls (the “March”). FAC ¶ 84. The March’s purpose was to draw attention to issues

of systemic racism in the City of Graham (the “City”) and Alamance County and to

encourage members of the community who had not already voted to exercise their

constitutional right to vote that day, the last day of early voting and registration. Id. ¶¶ 72,

80. On the day of the March, Graham and Alamance County law officers deployed violent

crowd control tactics indiscriminately, using pepper spray to forcibly disperse peaceful

marchers to the polls. Id. ¶¶ 99, 116, 124, 131. The officers and deputies arrested twenty

people in connection with the March, including two poll observers and an Alamance News

reporter covering the events. Id. ¶ 138. Some Plaintiffs and members of Plaintiffs’

organizations were unable to vote that day, nor in the 2020 Election, as a result of

Defendants’ actions. Id. ¶¶ 25, 144, 152. Plaintiffs have brought this action under the

United States Constitution, the Voting Rights Act, the Ku Klux Klan Act, the North

Carolina Constitution, and North Carolina common law seeking remedies for their injuries.

       The Graham Defendants’ motion to dismiss Plaintiffs’ complaint raises irrelevant

arguments and inapplicable doctrines.1 Their brief discredits Plaintiffs’ factual allegations,


1
 Defendants also make two material misrepresentations to the court. Mem. 5, n. 4.
Contrary to their representation that “The City was not aware of any concerns or
objections to the ordinance until it received the first TRO motion in [Case 1:20-cv-
00613-CCE-LPA],” some of the undersigned counsel wrote to the City and County on


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which is entirely inappropriate at the motion to dismiss stage. Wikimedia Found. v. Nat’l

Sec. Agency, 857 F.3d 193, 208 (4th Cir. 2017) (the court “accept[s] as true all well-pleaded

facts in a complaint and construe them in the light most favorable to the plaintiff.”).

Defendants’ arguments are meritless and their Motion should be denied.


                                      ARGUMENT


I.     Plaintiffs Have Stated A Claim Under Section 11(b) Of The Voting Rights Act
       (Count III)

       Plaintiffs bring their claims for violation of the Voting Rights Act of 1965, 52

U.S.C. § 10301 et seq. (the “VRA”), under Section 11(b), which provides that “[n]o person,

whether acting under color of law or otherwise,” shall or attempt to “intimidate, threaten,

or coerce, or attempt to intimidate, threaten, or coerce any person for voting or attempting

to vote” or “for urging or aiding any person to vote.” 52 U.S.C. § 10307(b). Section 11(b)’s

prohibitions are intentionally broad. See Nat’l Coal. on Black Civic Participation v. Wohl,

No. 20 Civ. 8668, 2020 WL 6305325, at *12 (S.D.N.Y. Oct. 28, 2020) (“Section 11(b)’s

reach is extensive, in accordance with the VRA’s ambitious aims of encouraging true

enforcement of the Fifteenth Amendment’s promise of unencumbered access to the vote,

regardless of race.”).


June 26, 2020, a week before filing the complaint and motion for TRO, notifying them
that the City’s ordinance was unconstitutional. 1:20-cv-00613-CCE-LPA, DE 8. Neither
Defendant responded to that letter. Additionally, contrary to Defendants’ representation,
it did not repeal its ordinance until after the court issued a Consent TRO. Id., DE 15.
Defendants also neglect to mention that Plaintiffs' dismissal of their claims with prejudice
was pursuant to a settlement agreement between the parties. Id., DE 68.


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       Defendants argue: (i) “A VRA claim requires allegations that voting rights were

denied based on race or color”; (ii) “[c]omplaints that allege misconduct not related to

voting but that thereafter adversely affected voting do not raise to the level of a VRA

claim;” (iii) “Plaintiffs did not allege that any defendant interfered with them while

engaging or attempting to engage in voting activities;” and (iv) “there are no allegations

that the City viewed or treated the protest at the courthouse as voting activity.” Mem. 6-7.

None of these arguments has merit.2

       First, as is plain from its text, Section 11(b) does not require a showing that voting

rights were denied on the basis of race.3 See League of United Latin Am. Citizens -

Richmond Region Council 4614 v. Pub. Interest Legal Found., No. 1:18-cv-00423, 2018

WL 3848404, at *4 (E.D. Va. Aug. 13, 2018) [hereinafter, “LULAC”] (“[T]he Court does

not find that a showing of specific intent or racial animus is required under § 11(b).”).

Defendants have confused Section 11(b) with Section 2(a).


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  No case cited by Defendants involved claims brought pursuant to Section 11(b) of the
Voting Rights Act. None involves allegations similar to those alleged by Plaintiffs here.
See Acosta v. Democratic City Comm., 288 F. Supp. 3d 597, 647 (E.D. Pa. 2018)
(dismissing plaintiffs’ Voting Rights claim, which was only mentioned once in the
complaint, based on an analysis of Section 2 of the Voting Rights Act); Smith v.
Montgomery Police Dep’t, 2016 WL 11440446, at *3 (M.D. Ala. Oct. 27, 2016)
(dismissing “perfunctory” voting rights discrimination claim by plaintiff who alleged that
his voting rights were violated because his mailbox key was seized during an arrest a year
prior to the 2016 primary election); Smith v. Montgomery Police Dep’t, 2016 WL 7424489
(M.D. Ala. Dec. 23, 2016) (adopting in part recommendations in id., but granting leave to
amend to give pro se plaintiff an opportunity to allege reasonably particular facts
concerning his voting rights claim).
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  In fact, the legislative history of Section 11(b) makes clear that “[t]he prohibited acts of
intimidation need not be racially motivated” and “no subjective purpose or intent need be
shown.” 1965 U.S.C.C.A.N. 2437, 2462.

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       Second, conduct that puts someone “in fear of harassment and interference with

their right to vote” is sufficient to sustain a Section 11(b) claim. LULAC, 2018 WL

3848404, at *4 (citing Damon v. Hukowitz, 964 F. Supp. 2d 120, 149 (D. Mass. 2013)

(“Intimidation means putting a person in fear for the purpose of compelling or deterring

his or her conduct.”)). This “naturally includes egregious conduct, such as acts of

violence.” Nat’l Coal. on Black Civic Participation, 2020 WL 6305325, at *16. Persons

“voting or attempting to vote” and those “urging or aiding any person to vote or attempt to

vote” are protected by Section 11(b). 52 U.S.C. § 10307(b). This includes conduct that

could (or did) adversely affect voting, even if the people targeted by the conduct were not

engaged in voting at the time. See, e.g., Whatley v. City of Vidalia, 399 F.2d 521, 526 (5th

Cir. 1968) (activity to encourage voter registration is protected conduct under Section

11(b)); LULAC, 2018 WL 3848404, at *4 (finding that plaintiffs sufficiently alleged

intimidation where defendants publicly linked plaintiffs’ “names and personal information

to a report condemning felonious voter registration.”).

       Furthermore, Plaintiffs have alleged that they were “engaging or attempting to

engage in voting activities” at the time of Defendants’ egregious conduct. Specifically,

Plaintiffs allege: (1) they were engaged in a peaceful, non-partisan march to the West Elm

Street early voting site, FAC ¶¶ 1, 9, 68; (2) the purpose of the March was to urge and aid

Plaintiffs and attendees to vote, id. ¶¶ 9, 11–12, 68; (3) Defendants were aware that the

purpose of the March was to encourage voting, id. ¶¶ 68, 70–72, 75, 80; (4) several

Plaintiffs intended to vote as part of the March to the polls, id. ¶¶ 14, 25–26, 144, 155; and



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(5) several Plaintiffs attempted to go to the polling location after the March was terminated

by Defendants’ conduct but Defendants again interfered, id. ¶¶ 130–33.

       Concerning specific allegations of intimidation, threats, or coercion, Plaintiffs

allege that: (1) Defendants’ conduct in pepper spraying and arresting attendees of the

March abruptly and intentionally terminated the march to the polls, FAC ¶¶ 1, 3, 68, 99,

123–25, 127144; (2) Defendants actively prevented Plaintiffs from proceeding to the

polling location, id. ¶¶ 128–30; (3) Defendants’ conduct intended to and actually did

intimidate, prevent, and deter several Plaintiffs from voting, id. ¶¶ 3, 14, 25–26, 133, 144,

151 152–53, 155-56, 162, 185–87; and (4) even after their egregious conduct on October

31, on Election Day, Defendants positioned themselves in front of the polling location to

intimidate Plaintiffs and other voters, id. ¶¶ 146–51.

       Plaintiffs have sufficiently alleged facts to state a claim under Section 11(b) of the

VRA and Defendants’ motion to dismiss that claim should be denied.

II.    The City Of Graham May Not Avoid Liability For The Actions Of The Other
       City Defendants
       Plaintiffs have brought claims under 42 U.S.C. § 1983 against the City for violations

of Plaintiffs’ First and Fourth Amendment rights under the United States Constitution, FAC

Counts I and II, and for violations of the Voting Rights Act and Ku Klux Klan Act, id.

Counts III and IV. Plaintiffs have additionally brought free speech and assembly claims

against the City under Sections 12 and 14 of the North Carolina Constitution. Id. Counts V

and VI. Defendants argue that the § 1983 claims should be dismissed as to the City because

“[c]onclusory allegations that there was an actionable policy or custom and reference to


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the alleged actions by individual defendants is insufficient to survive a motion to dismiss.”

Mem. 8. They further argue that the City is immune to Plaintiffs’ state law claims under

the doctrine of governmental immunity. Id. at 12. These arguments are without merit.

       A.     Plaintiffs’ § 1983 Claims Allege A Constitutional Deprivation
              Attributable To The City of Graham (Counts I and II)
       The U.S. Supreme Court has explained that “[l]ocal governing bodies,” such as the

City of Graham, “can be sued directly under § 1983 for monetary, declaratory, or injunctive

relief where, as here, the action that is alleged to be unconstitutional implements or

executes a policy statement, ordinance, regulation, or decision officially adopted and

promulgated by that body’s officers.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690

(1978).

       “To state a cause of action against a municipality, a section 1983 plaintiff must plead

(1) the existence of an official policy or custom; (2) that the policy or custom is fairly

attributable to the municipality; and (3) that the policy or custom proximately caused the

deprivation of a constitutional right.” Pettiford v. City of Greensboro, 556 F. Supp. 2d 512,

530 (M.D.N.C. 2008). Plaintiffs easily clear this threshold.

       The Graham Defendants argue that the § 1983 claims should be dismissed as to the

City because “[a] municipality may only be held liable for federal constitutional harms

where the harm is directly attributable to the entity itself,” and thus, the City “cannot be

held liable for the final decisions of its chief of police because the City has not invested

such final power in that position.” Mem. 7. This argument is meritless.




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              1.       Defendant Cole Acted As A Policymaker On Behalf Of The City

       “[T]he power to establish policy is no more the exclusive province of the legislature

at the local level than at the state or national level.” Pettiford, 556 F. Supp. 2d at 530. Such

policy may also be found in a “course of action tailored to a particular situation” that is

chosen by the governmental entity’s “authorized decisionmaker.” Pembaur v. City of

Cincinnati, 475 U.S. 469, 481 (1986); see also Edwards v. City of Goldsboro, 178 F.3d

231, 244-45 (4th Cir. 1999) (municipal policy “may also be found in formal or informal ad

hoc ‘policy’ choices or decisions of municipal officials authorized to make and implement

municipal policy.”).

       “The Supreme Court has expressly noted that ‘[a]uthority to make municipal policy

. . . may be delegated by an official who possesses such authority’ to another official.”

Liverman v. City of Petersburg, 844 F.3d 400, 413 (4th Cir. 2016) (citing Pembaur, 475

U.S. at 483) (alterations in original). Here, Plaintiffs allege that “the City Manager

delegated his authority to make policy related to policing and control of assemblies,

marches, protests and rallies in the City'' to Defendant Cole, “and authorized her to make

final policy related to policing and control of assemblies, marches, protests and rallies in

the City.” FAC ¶¶ 35–36.

       Defendants’ argument that the “Complaint nakedly asserts that the city manager

conveniently delegated final authority for matters pertaining to protests to Chief Cole,” and

that “[t]he City cannot be held liable for the final decisions of its chief of police because

the City has not invested such final power in that position,” Mem. 10, flatly contradicts the



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facts alleged in the Amended Complaint, which states: “At its October 13 meeting . . . [t]he

Council advised Plaintiff Drumwright that he must coordinate logistics for the March and

rally with Defendant Cole.” FAC ¶ 74. These allegations must be accepted as true for the

purposes of a motion to dismiss. Wikimedia Found., 857 F.3d at 208.

       Further, the Amended Complaint alleges facts demonstrating that Defendant Cole

was the key person in authority for the City involved in planning the March: Defendant

Cole handled route planning and street closures, FAC ¶¶ 75 and 81; staffing of police and

firefighters, id. ¶ 76; and public safety protocols, namely, the City’s “public safety plan,”

id. ¶¶ 79–80. On the day of the event, Defendant Cole “met the marchers in the parking lot

near the chapel, stated that she would be closing the street for them to march all the way to

the Historic Courthouse grounds, told them that she had State troopers there to ‘help close

the streets,’ and added, ‘the street is yours.’” Id. ¶ 85. These events demonstrate that

Defendant Cole was the chief authority in making “decisions[s] regarding a course of

action in response” to the March. Pembaur, 475 U.S. at 481.

       The Fourth Circuit has held that far less specific allegations of delegated authority

are adequate at the motion to dismiss stage. See Edwards, 178 F.3d at 245 (finding

allegations “that the City delegated authority to its agents and employees . . . to formulate,

develop and administer employment and personnel policies and practices for the City”

sufficient); see also Cherry v. City of Greensboro, No. 12-CV-217, 2013 WL 422857, *8

(M.D.N.C. Feb. 4, 2013) (“Edwards was decided before Twombly and Iqbal, but there is

no contention that the latter render the former infirm.”). Thus, Plaintiffs’ allegations are



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more than enough to establish Defendant Cole as having policymaking authority on behalf

of the City of Graham with regard to the March.

              2.      Defendant Cole Deprived The Plaintiffs Of Their Constitutional
                      Rights

       Defendants next argue that liability against the City should be foreclosed because

“[t]here are no facts demonstrating that Chief Cole made decisions regarding the

deployment of OC Vapor in general or in the context of the October 31 events.” Mem. 10.

Again, these arguments miss the mark. “[E]ven where city policies do not ‘directly

command[ ] or authorize constitutional violations,’ they may nonetheless cause the

violation by providing ‘tacit authorization’ to unconstitutional conduct.” Price v. City of

Fayetteville, N.C., 22 F. Supp. 3d 551, 563 (E.D.N.C. 2014). Such was the case here.

       As Plaintiffs allege, Defendant Cole as the Chief of Police was the “final authority”

regarding the use of the violent crowd control tactics that were deployed on Plaintiffs

during the March. FAC ¶ 37. These allegations are sufficient, at this juncture, to support

the claim that Defendant Cole at least authorized GPD officers “to unlawfully disperse a

march to the polls, with the purpose of discouraging and intimidating voters from

exercising their constitutional right to vote.” Id. ¶ 194.

       Defendant Cole’s actions, either through her “tacit authorization” or specific

direction, constituted official policy that directly led to the deprivation of the Plaintiffs’

constitutional rights. Price, 22 F. Supp. 3d at 562. Accordingly, the City’s Motion with

respect to Plaintiffs’ §1983 claims should be denied.




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       B.     The City Of Graham Is Not Immune To Plaintiffs’ State Law Claims
              (Counts V, VI, and VII)

       In addition to their federal claims, Plaintiffs have brought claims against the City

under Article I, Sections 12 and 14 of the North Carolina Constitution for violations of

their rights to free speech and free assembly. FAC ¶¶ 204, 209. Defendants argue these

claims should be dismissed under the doctrine of governmental immunity and because

Plaintiffs’ “allegations do not contain any facts showing Graham waived immunity.”

Defendants further argue Plaintiffs “asserted federal claims as well as a common law claim

for battery,” and therefore have other adequate state remedies. Mem. 12–13. These

arguments are meritless.

       First, sovereign immunity is not a defense to free speech and free assembly claims

under the North Carolina Constitution. Corum v. Univ. of N. Carolina Through Bd. of

Governors, 330 N.C. 761, 785–86 (1992) (“The doctrine of sovereign immunity cannot

stand as a barrier to North Carolina citizens who seek to remedy violations of their rights

guaranteed by the Declaration of Rights.”). Accordingly, “when there is a clash between

these constitutional rights and sovereign immunity, the constitutional rights must prevail.”

Id. at 786. Plaintiffs need not allege a waiver. See id.

       Second, the presence of federal claims has no affect on claims brought under the

state Constitution. Barrett v. Bd. of Educ. of Johnston Cty., N.C., 13 F. Supp. 3d 502, 514

(E.D.N.C. 2014), aff’d on other grounds, 590 F. App’x 208 (4th Cir. 2014) (“A plaintiff

can assert a direct claim under the North Carolina Constitution only when there is no

adequate remedy at common law or under a state statute.”) (emphasis added); see also


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Corum, 330 N.C. at 789 (allowing plaintiff to bring causes of action for free speech

violation under both § 1983 and the North Carolina Constitution).

       Third, Defendants provide no support for the argument that certain Plaintiffs’

common law claims for battery against the individual Doe Defendants are an adequate

remedy for free speech and assembly injuries. Indeed, North Carolina courts have already

ruled that, as Plaintiffs allege, FAC ¶ 204, no such remedy exists for the alleged deprivation

of the right to freedom of speech. See Corum, 330 N.C. at 783 (“Having no other remedy,

our common law guarantees plaintiff a direct action under the State Constitution for alleged

violations of his constitutional freedom of speech rights.”).This Court considered and

rejected similar arguments in Randleman v. Johnson, 162 F. Supp. 3d 482, 489 (M.D.N.C.

2016). In Randleman, as here, the defendant argued without support that the mere

allegation of another state law claim provided plaintiff “an adequate remedy under state

law because he has ‘at least the opportunity to enter the courthouse doors and present his

claim and the possibility of relief under the circumstances.’” Id. The Court rejected the

argument because it “fail[ed] to articulate the contours of North Carolina case law that

would be informative on the question of” how Randleman’s other tort claims could

“provide the ‘possibility of relief’ under North Carolina law.” Id. The Court held that “[i]n

the absence of such explanation,” the motion must be denied. Id. Here too, the City makes

no attempt to explain how the battery claim asserted by some Plaintiffs4 could provide an



4
 Defendants ignore that Organizational Plaintiffs have brought claims under the North
Carolina Constitution, but cannot bring common law claims for battery.

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adequate remedy for the alleged violations of freedom of speech and assembly. Just as in

Randleman, “in the absence of such explanation,” Defendants’ motion to dismiss Counts

V, VI, and VII as to the City should be denied.

III.    The Individual Graham Defendants Are Not Immune To Plaintiffs’ Claims
        In addition to the claims brought against the City of Graham, Plaintiffs have also

brought claims against Defendants Cole, Velez, and Franks (the “Individual Graham

Defendants”) under both federal and state law. Defendants argue the federal claims are

barred by the doctrine of qualified immunity and are otherwise duplicative. They also argue

the Individual Graham Defendants are immune to the state law claims through public

official immunity. Mem. 13–19. These arguments are without merit.

        A.     Qualified Immunity Does Not Bar The Federal Claims

        Qualified immunity shields officials from liability when they make “a decision that,

even if constitutionally deficient, reasonably misapprehends the law governing the

circumstances” confronted. Brosseau v. Haugen, 543 U.S. 194, 198 (2004). To

successfully state such a claim against a government official, a plaintiff must allege: (1)

the allegations underlying the claim substantiate a violation of a federal statutory or

constitutional right and (2) the official violated a clearly established right that a reasonable

person would have known. Price, 22 F. Supp. 3d at 559. Qualified immunity does not apply

where no reasonable official in the defendant’s position could conclude that the defendant’s

conduct was permissible. Taylor v. Riojas, 141 S. Ct. 52, 543 (2020).




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       As a threshold matter, Defendants’ argument fails because, as they acknowledge,

“[q]ualified immunity is a highly fact specific inquiry.” Mem. 16; see also id. at 14 (“The

inquiry is fact intensive, focused on the totality of circumstances and not confined to neat

sets of legal rules.”). By definition, such a “fact specific inquiry” will depend on the facts

shown by discovery and cannot be resolved on a Rule 12(b)(6) motion. With all inferences

drawn in Plaintiffs’ favor as required at this stage, the allegations in the First Amended

Complaint are more than sufficient.

              1.     Defendants Violated The First And Fourth Amendments

       “[T]he Supreme Court has already well articulated” that the First Amendment

prohibits “interfer[ence] with demonstrations unless there is a ‘clear and present danger’

of riot, imminent violence, interference with traffic or other immediate threat to public

safety.” Jones v. Parmley, 465 F.3d 46, 57 (2d Cir. 2006) (quoting Cantwell v. Connecticut,

310 U.S. 296, 308–309 (1940)).

       The Fourth Amendment prohibits the “use of pepper spray on a non-resisting, non-

fleeing individual, suspected of a non-violent misdemeanor.” Baude v. City of St. Louis,

476 F. Supp. 3d 900, 914 (E.D. Mo. 2020) (citing Tatum v. Robinson, 858 F.3d 544, 548-

550 (8th Cir. 2017)); Park v. Shiflett, 250 F.3d 843, 852-53 (4th Cir. 2001) (irresponsible

use of pepper spray twice at close range on unarmed individual was excessive force

violating Fourth Amendment); Meyers v. Balt. Cty., 713 F.3d 723, 735 (4th Cir. 2013)

(“The use of any ‘unnecessary, gratuitous, and disproportionate force,’ whether arising




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from a gun, a baton, a taser, or other weapon, precludes an officer from receiving qualified

immunity if the subject is unarmed and secured.”).

       Supervisors may be held liable “under § 1983 . . . if the supervisor failed or refused

to intervene when a constitutional violation took place in his presence” or “if the supervisor

created a policy or custom under which the constitutional violation occurred.” B.J.G. ex

rel. McCray v. St. Charles County Sheriff, No. 4:08-cv-1178, 2010 WL 1838414, at *3

(E.D. Mo. May 6, 2010), aff'd sub nom. B.J.G. ex rel. McCray v. St. Charles County Sheriff,

400 F. App'x 127 (8th. Cir. 2010); Randall v. Prince George's Cty., 302 F.3d 188, 203 (4th

Cir. 2002) (“Therefore, if a bystanding officer (1) is confronted with a fellow officer's

illegal act, (2) possesses the power to prevent it, and (3) chooses not to act, he may be

deemed an accomplice and treated accordingly.”) (citations omitted). Defendants Cole

(Chief of GPD), and Velez (Lt. of GPD) are the top law enforcement officials for the City

of Graham. FAC ¶¶ 38, 40–41. They are responsible “for the policy, practice, supervision,

and implementation and conduct” of GPD officers. See id. ¶ 38. Plaintiffs allege that these

individuals, together with Defendant Franks, id. ¶ 31, planned, directed, and authorized the

suppression of Plaintiffs’ free speech and assembly rights through the authorized

deployment of violent crowd control tactics.

       Plaintiffs allege Defendant Cole deployed a “large, armed police presence” at the

March. FAC ¶ 78. She ensured that armed GPD officers were near the marchers at all times.

See, e.g., Id. ¶ 91. She unilaterally changed the destination of the March from the Elm

Street One-Stop Early Voting site to the Historic Courthouse grounds. Id. ¶ 80. During the



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March, GPD blocked “access to most sidewalk areas” with barricades. Id. ¶ 98. They also

blocked the route to the polling place. Id. ¶ 130.

       Once the Plaintiffs were corralled, the GPD officers, “working in coordination” with

each other and the Alamance deputies, on multiple occasions and “without warning,”

disrupted Plaintiffs’ peaceful, non-violent demonstration by deploying pepper spray into

the crowd. FAC ¶¶ 99, -116, 124. Even as Plaintiffs attempted to disperse, “they were

chased and sprayed repeatedly with pepper spray.” Id. ¶ 128. GPD obstructed Plaintiffs

from fleeing to the polling place and routed them back towards North Main Street where

multiple GPD officers “lined the streets” and pepper sprayed the Plaintiffs. Id. ¶¶ 130–131.

At no point did Defendants Cole, Velez, or Franks intervene to protect the Plaintiffs,

despite being onsite and in charge of GPD response to the crowd. When all reasonable

inferences are drawn in favor of Plaintiffs—as they must at this stage— the allegations are

more than sufficient to state a claim against Defendants Cole, Velez, and Franks.

              2.     Defendants Violated The VRA And The KKK Act

       In addition to violating their First and Fourth Amendment rights, the Individual

Graham Defendants’ authorization of violent crowd control tactics at the March prevented

certain Plaintiffs from voting at the March’s conclusion, as originally planned; Plaintiff

Harvey was unable to register that day due to Defendants’ actions, so he could not vote in

the 2020 election FAC ¶ 144; see also id. ¶¶ 152–153 (each of the Organizational Plaintiffs

had members “who attended the March and were similarly intimidated from voting by

Defendants’ violent actions.”). The Individual Defendants knew that Plaintiffs intended to



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march to the polls to participate in the last day of the early voting and registration period.

FAC ¶¶ 68, 75–83. Defendants authorized GPD officers to broadly deploy pepper spray to

disperse a peaceful march that was explicitly intended to end at the polls, and to otherwise

prevent Plaintiffs from voting. See id. ¶ 129.

       As explained above, Section 11(b) of the VRA prohibits any intimidation,

threatening, or coercion of “any person for voting or … any person for urging or aiding

any person to vote or attempt to vote,” 52 U.S.C. § 10307(b).5 Similarly, the Ku Klux Klan

Act of 1871 prohibits “two or more persons” from preventing “by force, intimidation, or

threat, any citizen who is lawfully entitled to vote” from voting in a federal election. 42

U.S.C. § 1985(3).

       The right to vote is perhaps the most sacred right enshrined in the United States

Constitution. Williams v. Rhodes, 393 U.S. 23, 30 (1968) (the “right of individuals . . . to

cast their votes effectively” is “among our most precious freedoms.”). No reasonable

officer would believe that the violent suppression of Plaintiffs’ rights on October 31,

including pepper spraying marchers and blocking roads leading to the polling place, would

be permissible under either statute. Plaintiffs have specifically alleged that the Doe

Defendants, in their individual capacities, acted “arbitrarily and maliciously.” FAC ¶ 212;

see Lopp v. Anderson, 251 N.C. App. 161, 168 (2016) (noting that “Plaintiffs have

specifically alleged that Defendant Officers acted with malice.”); FRCP 9(b) (“Malice,


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 North Carolina’s Board of Elections affirms these protections. See Memo 2020-30,
North Carolina State Bd. of Elections, October 9, 2020, available at
https://bit.ly/3bjbHgY (last visited March 4, 2021).

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intent, knowledge, and other conditions of a person’s mind may be alleged generally.”).

Accordingly, qualified immunity is unavailable. Taylor, 141 S. Ct. at 54 (denying qualified

immunity because “no reasonable . . . officer could have concluded that” their conduct was

permissible). 6

IV.    The Organizational Plaintiffs Have Standing To Pursue Their Claims

       Defendants argue the organizational Plaintiffs—AA4J and J4tNG—lack standing to

bring their claims in this lawsuit. Mem. 19-22. Defendants, again, are wrong.

       Under Article III of the Constitution, “an organizational plaintiff may have standing

to sue in two ways: (i) on its own behalf (organizational standing); or (ii) on behalf of its

members (representational or associational standing).” Guilford Coll. v. McAleenan, 389

F. Supp. 3d 377, 388 (M.D.N.C. 2019) (citation omitted). AA4J and J4tNG have

sufficiently alleged standing under both theories, and Defendants do not contest

organizational standing; their motion to dismiss AA4J’s and J4tNG’s claims for lack of

standing should be denied on that basis alone.7 But, as shown below, AA4J and J4tNG

have adequately alleged associational standing too.


6
  Defendants also move to dismiss the state tort claims for assault and battery against the
Doe Defendants, arguing that these officers “qualify for public official immunity.” Mem.
18. But the attorneys for the City of Graham have repeatedly asserted that they do not
represent the Doe Defendants and have refused to accept service on their behalf.
Accordingly, they cannot appropriately move to dismiss claims against the Doe
Defendants.
7
  AA4J and J4tNG specifically alleged that Defendants’ unlawful actions “frustrate[ed]
[their organizational] mission and purpose” by causing them to redirect resources by
organizing a second march on Election Day, November 3, 2020. FAC ¶¶ 9-12. A “drain


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       A.     AA4J And J4tNG Have Associational Standing

       AA4J and J4tNG have associational standing to sue on behalf of their members. To

demonstrate associational standing, AA4J and J4tNG “must allege that: ‘(1) [their] own

members would have standing to sue in their own right; (2) the interests the organization

seeks to protect are germane to the organization’s purpose; and (3) neither the claim nor

the relief sought requires the participation of individual members in the lawsuit.’”

Southern Walk v. Openband at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013)

(quoting Md. Highways Contractors Ass’n, Inc. v. State of Md., 933 F.2d 1246, 1251 (4th

Cir. 1991)). To satisfy the first element of this test, an organization must “make specific

allegations establishing that at least one identified member had suffered or would suffer

harm.” Id. (quoting Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009)).

       AA4J and J4tNG’s allegations easily satisfy these standards. First, each

organization alleged that at least one of their members was harmed. Plaintiffs allege that

AA4J President, Quenclyn Ellison, “was injured by Defendants’ unlawful actions,

including their unlawful use of pepper spray,” FAC ¶ 15, and that J4tNG’s Lead Organizer,

Gregory Drumright, “was injured by Defendants’ unlawful actions, including their use of

pepper spray.” Id. ¶ 13.


on [an] organization’s resources . . .constitutes far more than simply a setback of the
organization’s abstract social interests.” Havens Realty Corp. v. Coleman, 455 U.S. 363,
379 (1982). Where, as here, an organization is forced to redirect its resources due to a
defendant’s unlawful actions, “there can be no question that the organization suffered an
injury in fact” sufficient for organizational standing. See also North Carolina State Conf. of
NAACP v. North Carolina State Bd. of Ed., 283 F. Supp. 3d 393, 402 (M.D.N.C. 2017); Action
NC v. Strach, 216 F. Supp. 3d 597, 616-17 (M.D.N.C. 2016).


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       Second, the complaint details how the interests AA4J and J4tNG seek to protect are

germane to their respective organizational purposes. The complaint alleges that AA4J’s

organizational purpose includes “fight[ing] for political, educational, social, and economic

equality for all citizens of Alamance County” by, among other things, “participat[ing] in

activities to encourage voting, such as voter registration drives and the October 31 March.”

FAC ¶ 11. Similarly, the complaint alleges J4tNG’s organizational purpose includes

“organizing for racial justice and an end to police violence and other forms of systemic

racial oppression” by, among other things, “organiz[ing] and participat[ing] in ‘get out the

vote drives.’” Id. ¶ 9. In other words, organizing and leading public demonstrations like

the March is one of the purposes of AA4J and J4tNG, and one of the purposes of this

lawsuit is to ensure Defendants cannot illegally and violently disrupt future marches as

they did on October 31, 2020. This Court has previously denied motions to dismiss

complaints similar to this one. See, e.g., Guilford Coll., 389 F. Supp. 3d at 389 (holding in

a challenge to an educational visa policy that the American Federation of Teachers had

associational standing because its “mission includes advancing the interests of its members

. . . who wish to serve as teachers” and “advocat[ing] for its members’ interests before

governmental bodies and in court”). The Court should do so again here.

       Finally, the organizational Plaintiffs’ injunctive relief claims do not require the

participation of any individual member. In cases seeking injunctive relief, it can

“reasonably be supposed that the remedy, if granted, will inure to the benefit of those

members of the association actually injured.” Warth v. Seldin, 422 U.S. 490, 515 (1975).



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Defendants argue that AA4J and J4tNG fail this prong because “constitutional harms and

defenses are determined based on the unique facts of each case.” Mem. 21. But this

argument underscores precisely why their motion should be denied: if Defendants are

correct, then resolution of this issue will depend on the facts shown by discovery and cannot

be resolved on a Rule 12(b)(6) motion.

              C.      That AA4J And J4tNG Are Unincorporated Organizations Is
                      Irrelevant

       Defendants argue AA4J and J4tNG lack Article III standing because they are

unincorporated associations that have not filed an “assumed business name certificate”

under a North Carolina state statute. This argument is meritless.

       As an initial matter, because Defendants provide no legal authority showing that

AA4J or J4tNG were required to file an assumed business name certificate to establish

standing under Article III of the U.S. Constitution, see Mem. 20, they have waived this

argument and the Court need not consider it. See Hayes v. Self-Help Credit Union, No.

1:13-CV-880, 2014 WL 4198412 at *2 (M.D.N.C. Aug. 22, 2014) (Eagles, J.) (deeming a

plaintiff’s arguments waived where “she has cited no legal authority of any kind” to support

them, noting that “[i]t is not the role or the responsibility of the Court to undertake the legal

research needed to support or rebut a perfunctory argument.”).

       Putting aside Defendants’ waiver, their argument is meritless. First, Article III

standing in federal court “does not depend on [a] party’s . . . standing in state court.”

Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 804 (1985); see also Protect Our Parks,

Inc. v. Chicago Park Dist., 971 F.3d 722, 731 (7th Cir. 2020). (state law “obviously cannot

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alter the scope of the federal judicial power.”). Thus, the fact that neither AA4J nor J4tNG

filed an “assumed business name certificate” under North Carolina law does not bear on

whether they have Article III standing to bring their claims in federal court.

       Second, the state statute on which Defendants rely, N.C. Gen. Stat. § 1-69.1, does

not apply to AA4J or J4tNG. That statute, on its face, states that “[u]incorporated nonprofit

associations are subject to Chapter 59B of the General Statutes and not this section.” N.C.

Gen. Stat. § 1-69.1(b) (emphasis added). AA4J and J4tNG are nonprofit associations; even

if their Article III standing turned on state law, Defendants’ reliance on § 1-69.1 would be

misplaced. Moreover, Chapter 59B of the General Statutes merely sets forth tests that are

identical to those for organizational and associational standing under federal law. See N.C.

Gen. Stat. § 59B-8(a) (“A nonprofit association, in its name, may institute . . . a judicial . .

. proceeding.”); id. § 59B-8(b) (“A nonprofit association may assert a claim in its name on

behalf of its members . . . if one or more of them have standing to assert a claim in their

own right . . .[and] the interests the nonprofit association seeks to protect are germane to

its purposes.”). Thus, even if Chapter 59B applied, AA4J and J4tNG would have standing

for the reasons set forth above.

       D.     That Some Members Of J4tNG Are Other Organizations Is Irrelevant

       Defendants assert that J4tNG lacks standing because “its members are other

organizations” and therefore it “does not represent the constitutional rights of individual

members.” Mem. 22. Again, Defendants waived this argument by failing to provide any

legal authority. Hayes, 2014 WL 4198412 at *2. And in any event, Defendants’ argument



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is meritless because it focuses only on associational standing, which requires that an

organizational plaintiff allege its members have standing to sue in their own right.

Southern Walk, 713 F.3d at 184. As noted above, Defendants do not contest that J4tNG

and AA4J have organizational standing to sue on their own behalf. Moreover, that some

of J4tNG’s members are other organizations does not matter, because at least one of

J4tNG’s members, Gregory Drumright, is an individual with standing to sue in his own

right. Summers, 555 U.S. at 498 (for associational standing, to show that its members would

have standing to sue in their own right, an organization must “make specific allegations

establishing that at least one identified member had suffered or would suffer harm.”

(emphasis added)).

                                    CONCLUSION

       For the reasons discussed above, the City of Graham Defendants’ Motion to Dismiss

should be denied.




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 Respectfully submitted, this the 5th day of March 2021.

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                          CERTIFICATE OF COMPLIANCE

Relying on the word count function of Microsoft Word, I hereby certify that this brief
complies with the word limitations set forth in LR 7.3.

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                             CERTIFICATE OF SERVICE

I certify that on March 5, 2021, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notice to counsel for Defendants.



                                           /s/ Elizabeth Haddix
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